Case 4:22-cr-00612 Document 194-1 Filed on 03/07/23 in TXSD Page 1 of 3




                  Exhibit
                    1
    Case 4:22-cr-00612 Document 194-1 Filed on 03/07/23 in TXSD Page 2 of 3




UNITED STATES V. EDWARD CONSTANTINESCU ET AL.
                         United States v. Edward Constantinescu et al.
                               Court Docket No.: 4:22-CR-612

Court Assigned: This case is assigned to the U.S. District Court for the Southern District of
Texas, Bob Casey United States Courthouse, 515 Rusk Avenue, Houston, TX 77002.


Latest Updates: Trial is scheduled for October 23, 2023 at 9:00 AM in Courtroom 9D before
Judge Andrew S. Hanen. The final pretrial conference will be held on October 16, 2023 at 8:30
AM, Courtroom 9D before Judge Andrew S. Hanen.

Criminal Charges: In an indictment unsealed on December 13, 2022, eight defendants have been
charged with, among other offenses, conspiracy to commit securities fraud. On February 8, 2023,
a grand jury in the Southern District of Texas returned a superseding indictment against the same
eight defendants. The superseding indictment included, among other offenses, charges of
conspiracy to commit securities fraud and securities fraud.

The defendants charged in the superseding indictment include Texas residents Edward
Constantinescu a/k/a Constantin, Perry “PJ” Matlock, John Rybarczyk, and Dan Knight, California
residents Gary Deel and Tom Cooperman, New Jersey resident Mitchell Hennessey, and Florida
resident Stefan Hrvatin.

The superseding indictment alleges, among other things, that the defendants used social media,
including Twitter and Discord, to “pump and dump” securities from in and around January 2020
to in and around April 2022.

Presumption of Innocence: It is important to keep in mind that a criminal indictment is
merely an allegation, and defendants are presumed innocent until proven guilty and that
presumption requires both the court and our office to take certain steps to ensure that justice
is served.

For more information about the charges in this case, please see below. Please note that all of
the defendants have denied the allegations made in the superseding indictment below.

Superseding Indictment


Victim Impact Statement: If you would like to submit a Victim Impact Statement, you may do
so by mailing the Victim Impact Statement below (or a letter to the court) to: Victim Witness Unit,
U.S. Department of Justice, Criminal Division, Fraud Section, 10th & Constitution Avenue, NW,
Bond Building, Room 4416, Washington, DC 20530. You also may submit the Victim Impact
Statement via email at Victimassistance.fraud@usdoj.gov or by fax at: (202) 514-3708.

Victim Impact Statement (PDF)
    Case 4:22-cr-00612 Document 194-1 Filed on 03/07/23 in TXSD Page 3 of 3




The information on this website will be updated as new developments arise in the case. If you have
any questions, please call the Victim Assistance Line toll-free at (888) 549-3945 or email us
at VictimAssistance.fraud@usdoj.gov.


Crime Victims’ Rights Act and Right to Retain Counsel: Because charges have been filed in this
case in federal court, you also may be entitled to the following rights, according to the Crime
Victims’ Rights Act, Title 18, United States Code, Section 3771: (1) The right to be reasonably
protected from the accused; (2) The right to reasonable, accurate, and timely notice of any public
court proceeding, or any parole proceeding, involving the crime or of any release or escape of the
accused; (3) The right not to be excluded from any such public court proceeding, unless the court,
after receiving clear and convincing evidence, determines that testimony by the victim would be
materially altered if the victim heard other testimony at that proceeding; (4) The right to be
reasonably heard at any public proceeding in the district court involving release, plea, sentencing,
or any parole proceeding; (5) The reasonable right to confer with the attorney for the Government
in the case; (6) The right to full and timely restitution as provided in law; (7) The right to
proceedings free from unreasonable delay; (8) The right to be treated with fairness and with respect
for the victim’s dignity and privacy; (9) The right to be informed in a timely manner of any plea
bargain or deferred prosecution agreement; and (10) The right to be informed of the rights under
this section and the services described in section 503(c) of the Victims’ Rights and Restitution Act
of 1990 (42 U.S.C. § 10607(c)) and provided contact information for the Office of the Victims’
Rights Ombudsman of the Department of Justice. The Crime Victims’ Rights Act (18 U.S.C. §
3771) applies only to victims of the counts charged in federal court, and thus individuals may not
be able to exercise all of these rights if the crime of which the individual is a victim was not charged.

Section 3771(c)(2) of this Act requires that we advise you that you have the right to retain counsel.
Although the statute specifically sets forth your right to seek advice of an attorney with regard to
your rights under the statute, there is no requirement that you retain counsel. The Government may
not recommend any specific counsel, nor can the Government (or the Court) pay for counsel to
represent you. Government attorneys represent the United States.

If you elect to obtain counsel to represent your interests, please have your attorney notify this
office in writing at: U.S. Department of Justice, Criminal Division, Fraud Section, 10th &
Constitution Avenue, NW, Bond Building, 4th Floor, Washington, DC 20530, Attention: Victim
Witness Unit; fax: (202) 514-3708; or email: victimassistance.fraud@usdoj.gov. If you elect not
to retain counsel to represent your interests, you do not need to do anything.

Plea Agreements: Please be aware that many criminal cases are resolved by plea agreement
between the Department of Justice and the defendant. You should also know that it is not unusual
for a defendant to seek to negotiate a plea agreement shortly before trial is scheduled to begin. Plea
agreements can be made at any time and as late as the morning of trial, leaving little or no
opportunity to provide notice to you of the date and time of the plea hearing. If the court schedules
a plea hearing in this case, we will use our best efforts to notify you of available information as
soon as practicable. If you want to inform the prosecutor of your views regarding potential plea
agreements, or any other aspect of the case, please contact the prosecutor assigned to this case or
call the Victim Assistance Line toll-free at (888) 549-3945 or email us
at victimassistance.fraud@usdoj.gov.
